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United States District Court
Eastern District of New York                                     1:19-cv-07228

Candice Rosado, individually and on behalf
of all others similarly situated,
                               Plaintiff,

                 - against -
                                                                   Complaint
Riverside Partners L.L.C. and Nustef
Baking Ltd.,
                               Defendants

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.    Riverside Partners L.L.C. (“defendant Riverside”) and Nustef Baking Ltd.

(“defendant Nustef”) (collectively, “defendants”) manufacture, distribute, market, label and sell

french vanilla traditional Italian waffle cookies known as pizzelles purporting to be flavored with

vanilla, under their Reko brand (“Products”).

       2.    The Products are available to consumers from retail and online stores of third-parties

and are sold in containers of 5.25 OZ (50g) and 20 OZ (565g).

       3.    The Product’s relevant front label representations include “Vanilla” and “The

Authentic Italian Waffle Cookie.”




                                                1
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       4.   The back panel includes the Nutrition Facts, ingredient list and a description of the

Products.




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                                          Addictively Delicious!

                      Created from my family's centuries-old recipe from the Abruzzo
                      region of Italy, our pizzelle cookies are treasured for their crispy,
                      delicate flavor and time-honored artistry. Made with cast iron griddles
                      and the best of ingredients, I bring you a little taste of my heritage!

        5.     The Product’s front label and advertising makes direct representations with respect

to their primary recognizable and characterizing flavor by the word “Vanilla” gives consumers the

impression they contain real vanilla and are flavored exclusively by real vanilla when this is not

correct.1


I.      Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand

        6.     The tropical orchid of the genus Vanilla (V. planifolia) is the source of the prized

flavor commonly known as vanilla, defined by law as “the total sapid and odorous principles

extractable from one-unit weight of vanilla beans.”2

        7.     Vanilla’s “desirable flavor attributes…make it one of the most common ingredients

used in the global marketplace, whether as a primary flavor, as a component of another flavor, or

for its desirable aroma qualities.”3

        8.     Though the Pure Food and Drugs Act of 1906 (“Pure Food Act”) was enacted to

“protect consumer health and prevent commercial fraud,” this was but one episode in the perpetual

struggle against those who have sought profit through sale of imitation and lower quality

commodities, dressed up as the genuine articles.4

        9.     It was evident that protecting consumers from fraudulent vanilla would be



1
  21 C.F.R. § 101.22(i).
2
  21 C.F.R. §169.3(c).
3
  Daphna Havkin-Frenkel, F.C. Bellanger, Eds., Handbook of Vanilla Science and Technology, Wiley, 2018.
4
  Berenstein, 412; some of the earliest recorded examples of food fraud include unscrupulous Roman merchants who
sweetened wine with lead.


                                                       3
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challenging, as E. M. Chace, Assistant Chief of the Foods Division of the U.S. Department of

Agriculture’s Bureau of Chemistry, noted “There is at least three times as much vanilla consumed

[in the United States] as all other flavors together.”5

        10.     This demand could not be met by the natural sources of vanilla, leading

manufacturers to devise clever, deceptive and dangerous methods to imitate vanilla’s flavor and

appearance.

        11.     Today, headlines tell a story of a resurgent global threat of “food fraud” – from olive

oil made from cottonseeds to the horsemeat scandal in the European Union.6

        12.     Though “food fraud” has no agreed-upon definition, its typologies encompass an

ever-expanding, often overlapping range of techniques with one common goal: giving consumers

less than what they bargained for.


    A. Food Fraud as Applied to Vanilla

        13.     Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.7

        14.     The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities in today’s interconnected world.8



5
  E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.
6
  Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.
7
  Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
8
  Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.


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         Type of Food Fraud                                   Application to Vanilla

    ➢ Addition of markers
                                        •   Manipulation of the carbon isotope ratios to produce
       specifically tested for
                                            synthetic vanillin with similar carbon isotope composition
       instead of natural
                                            to natural vanilla
       component of vanilla beans

                                        •   Ground vanilla beans and/or seeds to provide visual appeal
                                            as “specks” so consumer thinks the product contains real
                                            vanilla beans, when the ground beans have been exhausted
    ➢ Appearance of more and/or             of flavor
       higher quality of the valued •       Caramel to darken the color of an imitation vanilla so it
       ingredient                           more closely resembles the hue of real vanilla9
                                        •   Annatto and turmeric extracts in dairy products purporting
                                            to be flavored with vanilla, which causes the color to better
                                            resemble the hue of rich, yellow butter

                                        •   Tonka beans, though similar in appearance to vanilla
    ➢ Substitution and
                                            beans, are banned from entry to the United States due to
       replacement of a high
                                            fraudulent use
       quality ingredient with
                                        •   Coumarin, a toxic phytochemical found in Tonka beans,
       alternate ingredient of
                                            added to imitation vanillas to increase vanilla flavor
       lower quality
                                            perception

    ➢ Addition of less expensive
                                        •   Synthetically produced ethyl vanillin, derived from
       substitute ingredient to
                                            recycled paper, tree bark or coal tar, to imitate taste of real
       mimic flavor of more
                                            vanilla
       valuable component

    ➢ Compounding, Diluting,            •   “to mix flavor materials together at a special ratio in which
       Extending                            they [sic] compliment each other to give the desirable




9
 Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.


                                                        5
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                                              aroma and taste”10
                                         •    Combination with flavoring substances such as propenyl
                                              guaethol (“Vanitrope”), a “flavoring agent [, also]
                                              unconnected to vanilla beans or vanillin, but unmistakably
                                              producing the sensation of vanilla”11

                                         •    “Spiking” or “fortification” of vanilla through addition of
                                              natural and artificial flavors including vanillin, which
                                              simulates vanilla taste but obtained from tree bark

                                         •    Injection of vanilla beans with mercury, a poisonous
 ➢ Addition of fillers to give                substance, to raise the weight of vanilla beans, alleged in
      the impression there is                 International Flavors and Fragrances (IFF), Inc. v. Day
      more of the product than                Pitney LLP and Robert G. Rose, 2005, Docket Number L-
      there actually is                       4486-09, Superior Court of New Jersey, Middlesex
                                              County.

                                         •    Subtle, yet deliberate misidentification and obfuscation of
                                              a product’s components and qualities as they appear on the
                                              ingredient list
                                               o “ground vanilla beans” gives impression it describes
                                                  unexhausted vanilla beans when actually it is devoid
                                                  of flavor and used for aesthetics
 ➢ Ingredient List Deception12
                                               o “natural vanilla flavorings” – “-ing” as suffix referring
                                                  to something like that which is described
                                               o “Vanilla With Other Natural Flavors” – implying –
                                                  wrongly – such a product has a sufficient amount of
                                                  vanilla to characterize the food; often containing high
                                                  amount of vanillin, which must be disclosed as an


10
   Chee-Teck Tan, "Physical Chemistry in Flavor Products Preparation: An Overview" in Flavor Technology, ACS
Symposium Series, Vol. 610 1995. 1-17.
11
   Berenstein, 423.
12
   Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar.


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                                                artificial flavor when paired with vanilla



     B. The Use of Vanillin to Simulate Vanilla

        15.    The most persistent challenger to the authenticity of real vanilla has been synthetic

versions of its main flavor component, vanillin.

        16.    First synthesized from non-vanilla sources by German chemists in the mid-1800s,

vanillin was the equivalent of steroids for vanilla flavor.

        17.    According to Skip Rosskam, a professor of vanilla at Penn State University and

former head of the David Michael flavor house in Philadelphia, “one ounce of vanillin is equal to

a full gallon of single-fold vanilla extract.”13

        18.    Today, only 1-2% of vanillin in commercial use is vanillin obtained from the vanilla

plant, which means that almost all vanillin has no connection to the vanilla bean.

        19.    Nevertheless, disclosure of this powerful ingredient has always been required where

a product purports to be flavored with vanilla. See Kansas State Board of Health, Bulletin, Vol. 7,

1911, p. 168 (cautioning consumers that flavor combinations such as “vanilla and vanillin…vanilla

flavor compound,” etc., are not “vanilla [extract] no matter what claims, explanations or formulas

are given on the label.”).

        20.    Since vanilla is the only flavor with its own standard of identity, its labeling is

controlled not by the general flavor regulations but by the standards for vanilla ingredients.

        21.    This means that if a product is represented as being characterized by vanilla yet also

contains non-vanilla vanillin, the label and packaging must declare the presence of vanillin and

identify it as an artificial flavor. See Vanilla-vanillin extract at 21 C.F.R. § 169.180(b) (“The


13
  Katy Severson, Imitation vs. Real Vanilla: Scientists Explain How Baking Affects Flavor, Huffington Post, May
21, 2019.


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specified name of the food is "Vanilla-vanillin extract _-fold" or "_-fold vanilla-vanillin extract",

followed immediately by the statement "contains vanillin, an artificial flavor (or flavoring)".); see

also 21 C.F.R. § 169.181(b), § 169.182(b) (similar declarations required for Vanilla-vanillin

flavoring and Vanilla-vanillin powder).

           22.    This prevents consumers from being misled by products which may taste similar to

real vanilla and but for consumer protection requirements, would be sold at the price of real vanilla.


       C. “Natural Vanillins” are Produced in a Non-Natural Manner

           23.    The past ten years have seen the introduction of vanillin ingredients that purport to

be a “natural flavor,” based on the raw material being a natural source and undergoing a natural

production process.

           24.    While vanillin can be made in an allegedly “natural” fermentation process from

ferulic acid, the cost is prohibitive for use in most applications.

           25.    When eugenol, from cloves are used to produce vanillin, it is subject to chemical

reactions and processes considered to be synthetic by the FDA.

           26.    These low-cost “natural vanillins” are produced by the ton in China, with little

transparency or verification, before being delivered to the flavor companies for blending.


       D. Vanilla “WONF” to Imitate Real Vanilla

           27.    The global shortage of vanilla beans has forced the flavor industry to “innovate[ing]

natural vanilla solutions…to protect our existing customers.”14

           28.    The “flavor industry” generally refers to the largest “flavor houses” such as Symrise

AG, Firmenich, Givaudan, International Flavors and Fragrances, Frutarom and Takasago



14
     Amanda Del Buouno, Ingredient Spotlight, Beverage Industry, Oct. 3, 2016.


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International along with the largest food manufacturing companies such as Unilever.

           29.   Their “customers” do not include the impoverished vanilla farmers who are at the

mercy of these global conglomerates nor consumers, who are sold products labeled as “vanilla”

for the same or higher prices than when those products contained only vanilla.

           30.   On the surface, the flavor industry has developed schemes such as “Sustainable

Vanilla Initiative” and “Rainforest Alliance Certified,” its actual interests are opposed to price

stability in the vanilla markets.

           31.   These companies benefit from high vanilla prices and use of less real vanilla because

it necessitates greater use of higher margin, proprietary, “vanilla-like” flavorings made with

advanced technology and synthetic biology.

           32.   In fact, high profile programs such as the “Sustainable Vanilla Initiative” and

“Rainforest Alliance Certified” have been silently questioned among the vanilla farmers of

Madagascar.

           33.   Reports have circulated that contrary to promoting “sustainability” of vanilla, these

programs push the needle in the opposite direction through cash payments to farmers to destroy

their vanilla crops.

           34.   Under the guise of promoting crop diversification, vanilla farmers are being urged to

produce the ubiquitous palm oil instead of vanilla.

           35.   Other tactics alleged to be utilized by companies such as Syrmise and Givaudan

include “phantom bidding,” where saboteurs claim they will pay a higher price to small producers,

only to leave the farmers in the lurch, forced to sell at bottom dollar to any remaining bidders.15

           36.   These conclusions, while not admitted, are consistent with the comments of industry



15
     Monte Reel, The Volatile Economics of Natural Vanilla in Madagascar, Bloomberg.com, Dec. 16, 2019.


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executives.

        37.     According to Suzanne Johnson, vice president or research at a North Carolina

laboratory, “Many companies are trying to switch to natural vanilla with other natural flavors

[WONF] in order to keep a high-quality taste at a lower price.”

        38.     The head of “taste solutions” at Irish conglomerate Kerry, urged flavor

manufacturers must “[G]et creative” and “build a compounded vanilla flavor with other natural

flavors.”

        39.     These compounded flavors typically exist in a “black box” and “consist of as many

as 100 or more flavor ingredients,” blended together in a special ratio to complement and enhance

the vanilla component.16

        40.     A compounded vanilla flavor “that matches the taste of pure vanilla natural extracts”

can supposedly “provide the same vanilla taste expectation while requiring a smaller quantity of

vanilla beans. The result is a greater consistency in pricing, availability and quality.”17

        41.     That high level executives in the flavor industry are willing to openly boast of their

stratagems to give consumers less vanilla for the same price is not unexpected.

        42.     This is due in part to the once powerful and respected trade group for the flavor

industry, The Flavor and Extract Manufacturers Association (“FEMA”), abandoning its “self-

policing” of misleading vanilla labeling claims and disbanding its Vanilla Committee.

        43.     Though FEMA previously opposed efforts of industry to deceive consumers, it cast

the general public to the curb in pursuit of membership dues from its largest members.




16
   Hallagan and Drake, FEMA GRAS and U.S. Regulatory Authority: U.S. Flavor and Food Labeling Implications,
Perfumer & Flavorist, Oct. 25, 2018; Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley,
1985, p. 611 (describing the flavor industry’s goal to develop vanilla compound flavors “That Seem[s] to be Authentic
or at Least Derived from a Natural Source”) (emphasis added).
17
   Donna Berry, Understanding the limitations of natural flavors, BakingBusiness.com, Jan. 16, 2018.


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II. The Products are Misleading Because they Contain Artificial Vanilla Flavor


        44.   A pizzelle labeled with the unqualified term “vanilla” gives consumers the

impression (1) vanilla is the characterizing flavor, (2) vanilla is contained in a sufficient amount

to flavor the product, (3) the flavor is derived from vanilla extract or vanilla flavoring, (4) no other

flavors simulate, resemble, reinforce, or enhance flavoring from vanilla or permit less real vanilla

to be used and (5) vanilla is the exclusive source of flavor.


    A. Ingredient List Declaration of “Artificial Vanilla Flavor” Reveals Flavor is Not Exclusively
       Vanilla

        45.   The Products are misleading because despite the front label and advertising, they fail

to contain real vanilla in the amount, quantity and/or type which the label suggests, based on the

ingredient list identifying “Artificial Vanilla Flavor.”




                INGREDIENTS: FLOUR, SUGAR, LIQUID WHOLE EGG,
                CANOLA OIL, ARTIFICIAL VANILLA FLAVOR, SOY
                LECITHIN, CARAMEL COLOR, BAKING POWDER, SALT.

        46.   Where a product makes representations as to its characterizing flavor, the type,

composition and amount of the flavor(s) is required to be designated in a truthful and non-

misleading way, based on various factors. See 21 C.F.R. § 101.22(i).

                Flavor Conditions                            Flavor Labeling Requirements




                                                  11
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                                                   “vanilla”
 No artificial flavor which simulates, resembles
 or reinforces the characterizing flavor
                                                   21 C.F.R. § 101.22(i)(1)

 If the food is (1) expected to contain
 characterizing     food     ingredient    e.g.,
 strawberries in "strawberry shortcake" and (2)
 contains natural flavor derived from such
                                                 the name of the characterizing flavor may be
 ingredient and (3) an amount of characterizing
                                                 immediately preceded by the word "natural"
 ingredient insufficient to independently
                                                 and shall be immediately followed by the word
 characterize the food
                                                 "flavored," e.g., "natural strawberry flavored
                                                 shortcake," or "strawberry flavored shortcake"
 If the food is (1) expected to contain
 characterizing     food     ingredient    e.g.,
                                                 21 C.F.R. § 101.22(i)(1)(i)
 strawberries in "strawberry shortcake" and (2)
 contains natural flavor derived from such
 ingredient and (3) the food contains no such
 ingredient

 If none of the natural flavor in the food is "artificially flavored"
 derived from the product whose flavor is
 simulated                                    21 C.F.R. § 101.22(i)(1)(ii)

                                                “natural strawberry flavored shortcake with
 If the food contains a characterizing flavor
                                                other natural flavors” or “strawberry shortcake
 from the product whose flavor is simulated and
                                                with other natural flavors”
 other natural flavor which simulates,
 resembles or reinforces the characterizing
                                                21 C.F.R. § 101.22(i)(1)(iii); 21 C.F.R. §
 flavor
                                                101.22(i)(1); 21 C.F.R. § 101.22(i)(1)(i)

                                                  "artificially flavored strawberry" or "grape
 If the food contains any artificial flavor which
                                                  artificially flavored"
 simulates, resembles or reinforces the
 characterizing flavor
                                                  21 C.F.R. § 101.22(i)(2)

       47.   “Natural flavor” refers to “the essential oil, oleoresin, essence or extractive…which

contains the flavoring constituents” from a natural source such as plant material and can refer to

combinations of natural flavors. See 21 C.F.R. § 101.22(a)(3).

       48.   “Artificial flavor” in contrast is any substance whose function is to impart flavor that

is not derived from a natural source. See 21 C.F.R. § 101.22(a)(1).




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           49.     The front label “Vanilla” gives the impression that all of the flavor (taste sensation

and ingredient imparting same) in the Product is contributed from vanilla beans. See 21 C.F.R. §

169.3(c) (“The term unit of vanilla constituent means the total sapid and odorous principles

extractable from one unit weight of vanilla beans”).

           50.     This impression is contradicted by the ingredient list which contains “Artificial

Vanilla Flavor.”

           51.     “Artificial Vanilla Flavor” does not contain flavor from vanilla beans and refers to

various synthetic vanillin ingredients, including ethyl vanillin, which is derived from wood pulp

and coal tar.

           52.     “Artificial vanilla flavor” is not indicated anywhere on the Product’s front label.

           53.     Had the Products flavoring derived exclusively from vanilla, the ingredient list would

declare the common or usual names of one or more of the exclusively vanilla ingredients, viz,

Vanilla Extract, Concentrated Vanilla Extract, Vanilla Flavoring and Concentrated Vanilla

Flavoring, and not declare any other flavor ingredient. See 21 C.F.R. §§ 169.175 to 169.178.

           54.     These exclusively vanilla ingredients – vanilla extract, vanilla flavoring, etc. – differ

only in that the former is at least thirty-five (35) percent ethyl alcohol while the latter is less than

this amount.18


III.       Coloring Misleads Consumers to Expect Products Contain More Vanilla Than They Do

           55.     The Product contains caramel color, indicated on the ingredient list.

           56.     The use of caramel color darkens the Products to a color closer to that of vanilla

beans and vanilla extract.

           57.     The darker color makes the consumer (1) less likely to question or be skeptical of the


18
     21 C.F.R. §§ 169.175 (Vanilla extract.), 169.177 (Vanilla flavoring.); also concentrated versions of each of these.


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amount and type of vanilla in the Products and (2) expect the Products contain more vanilla than

they actually do.


IV. Conclusion


       58.   The proportion of the characterizing flavor component, vanilla, has a material

bearing on price or consumer acceptance of the Products because they are more expensive and

desired by consumers.

       59.   The Products are misleading because they do not contain the amount, type and

percentage of vanilla as a component of the flavoring which is required by law and consistent with

consumer expectations.

       60.   Had plaintiff and class members known the truth, they would not have bought the

Product or would have paid less for it.

       61.   The Product contains other representations which are misleading and deceptive.

       62.   As a result of the false and misleading labeling, the Product is sold at a premium

price, approximately no less than $4.99 per 20 OZ, excluding tax – compared to other similar

products represented in a non-misleading way.

                                     Jurisdiction and Venue


       63.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act

of 2005 or “CAFA”).

       64.   Under CAFA, district courts have “original federal jurisdiction over class actions

involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

       65.   Upon information and belief, the aggregate amount in controversy is more than



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$5,000,000.00, exclusive of interests and costs.

        66.   This is a reasonable assumption because defendant’s Products are sold in thousands

of stores across all 50 states and have been sold bearing the allegedly misleading claims for at least

six years.

        67.   Plaintiff Candice Rosado is a citizen of New York.

        68.   Defendant Riverside Partners L.L.C. is a Delaware limited liability company with a

principal place of business in New York, New York County, New York and upon information and

belief, at least one member of defendant is not a citizen of New York.

        69.   Defendant Nustef Baking Ltd. is a Canadian limited company with a principal place

of business in Mississauga, Ontario.

        70.   Diversity jurisdiction exists because defendant Riverside takes the citizenship of its

members such that plaintiff and defendant are citizens of different states and defendant Nustef, a

citizen or subject of a foreign state, Canada, is an additional party. 28 U.S.C. § 1332(a)(3).

        71.   Diversity exists because even if plaintiff and defendant Riverside are both citizens

of this state, plaintiff seeks to represent persons in all 50 states who purchased the Products.

Gonzales v. Agway Energy Services, LLC, No. 18-cv-235 (N.D.N.Y. Oct. 22, 2018) (“At this time,

the allegation that some class member maintains diversity with Defendant is sufficient to establish

minimal diversity under CAFA” and citing 28 U.S.C. § 1332(d)(1)(D) “’the term ‘class members’

means the persons (named or unnamed) who fall within the definition of the proposed or certified

class in a class action.”).

        72.   Diversity exists because plaintiff is a citizen of a state, New York, and defendant

Nustef is a citizen or subject of a foreign state, Canada. 28 U.S.C. § 1332(d)(2)(C) (a district court

has “original jurisdiction of any civil action in which the matter in controversy exceeds the sum or




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value of $5,000,000, exclusive of interest and costs, and is a class action in which…any member

of a class of plaintiffs is a citizen of a State and any defendant is a foreign state or a citizen or

subject of a foreign state.”).

        73.   This court has personal jurisdiction over defendants because it conducts and transacts

business, contracts to provide and/or supply and provides and/or supplies services and/or goods

within New York.

        74.   Venue is proper because plaintiff and many class members reside in this District and

defendants do business in this District and State.

        75.   A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                Parties

        76.   Plaintiff Candice Rosado is a citizen of Richmond County, New York.

        77.   Defendant Riverside is a Delaware limited liability company with a principal place

of business in New York (city), New York (state), New York County and is a citizen of the States

of its members.

        78.   One of defendant’s members is a citizen of Ohio.

        79.   The other members of defendant are not publicly known at this time.

        80.   Defendant Nustef Baking Ltd. is a Canadian limited company with a principal place

of business in Mississauga, Ontario.

                                         Class Allegations


        81.   The classes will consist of all consumers in New York, the other 49 states and a

nationwide class where applicable.

        82.   Common questions of law or fact predominate and include whether defendant’s



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representations and practices were likely to harm plaintiff and if plaintiffs and class members are

entitled to damages.

       83.    Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive actions.

       84.    Plaintiff is an adequate representative because his or her interests do not conflict with

other members.

       85.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       86.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       87.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       88.    Plaintiff seek class-wide injunctive relief because the practices continue.

                                       New York GBL §§ 349 & 350
                                 (Consumer Protection from Deceptive Acts)

       89.    Plaintiffs incorporate by reference all preceding paragraphs.

       90.    Plaintiff and class members desired to purchase products which were as described

by defendant and expected by reasonable consumers, given the product type.

       91.    Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       92.    Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products contain sufficient amounts of the

highlighted ingredient, vanilla, to flavor the Products and did not contain non-vanilla flavors when

it contained no flavor from real vanilla.



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       93.      Plaintiff and class members relied on the representations and paid more for the

Products as a result of what defendant stated about the Products.

       94.      Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                          Negligent Misrepresentation

       95.      Plaintiff incorporates by reference all preceding paragraphs.

       96.      Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products through misrepresenting the amount, quantity and/or

proportion of the flavoring ingredient.

       97.      Defendant had a duty to disclose and/or provide non-deceptive labeling of the

Product and its components and ingredients, and knew or should have known same were false or

misleading.

       98.      This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product or

service type.

       99.      The representations took advantage of consumers’ (1) cognitive shortcuts made at

the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

       100. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Products.

       101. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

              Breaches of Express Warranty, Implied Warranty of Merchantability and
                    Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.



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       102. Plaintiff incorporates by reference all preceding paragraphs.

       103. Defendant manufactures and sells products which purport to contain sufficient

amounts of the highlighted ingredients, vanilla, to characterize the taste or flavor of the Products,

which is desired by consumers.

       104. The Products warranted to Plaintiff and class members that they possessed

substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

other attributes which they did not due to the presence or absence of the aforementioned ingredient.

       105. Defendant had a duty to disclose and/or provide a non-deceptive description and

identification of the Product and its ingredients.

       106. This duty is based, in part, on defendant’s position as one of the most recognized

companies in the world manufacturing and selling the pizzelle products.

       107. Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers and their employees.

       108. The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and were not merchantable.

       109. Plaintiff and class members relied on defendant’s claims, paying more than they

would have.

                                               Fraud


       110. Plaintiff incorporates by references all preceding paragraphs.

       111. Defendant’s purpose was to sell a product which purported to contain valuable and

desired characterizing ingredients and/or flavors, and represent the Products were exclusively

flavored by the designated ingredients and contained sufficient independent amounts of same.

       112. Defendant’s fraudulent intent is evinced by its failure to accurately indicate the



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Products contained less of the desired ingredients or none at all.

        113. Plaintiff and class members observed and relied on defendant’s claims, causing them

to pay more than they would have, entitling them to damages.

                                             Unjust Enrichment

        114. Plaintiff incorporates by reference all preceding paragraphs.

        115. Defendant obtained benefits and monies because the Product were not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                    Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

    1. Declaring this a proper class action, certifying Plaintiff as representative and undersigned

        as counsel for the class;

    2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

        challenged practices to comply with the law;

    3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

        representations, restitution and disgorgement for members of the State Subclasses pursuant

        to the applicable laws of their States;

    4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

        to the common law and other statutory claims;

    5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

        experts; and

    6. Other and further relief as the Court deems just and proper.

Dated: December 26, 2019


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                                                Respectfully submitted,

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                                                        -and-
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1:19-cv-07228
United States District Court
Eastern District of New York

Candice Rosado, individually and on behalf of all others similarly situated,


                                         Plaintiff,


        - against -


Riverside Partners L.L.C. and Nustef Baking Ltd.,


                                         Defendants




                                           Complaint




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Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: December 26, 2019
                                                                         /s/ Spencer Sheehan
                                                                          Spencer Sheehan
